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                                   STATEMENT OF FACTS

       Your affiant, Katie Hill, is a Special Agent with the Federal Bureau of Investigation

("FBI"), and, as such, am a "federal law enforcement officer" within the meaning of Federal Rule

of Criminal Procedure 41(a)(2)(C). Your affiant joined the FBI as a Special Agent in August

2009. Your affiant is currently assigned to the FBI's Tampa Division Joint Terrorism Task force

("JTTF"). Currently, I am a tasked with investigating criminal activity in and around the Capitol

grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government

agency to engage in or supervise the prevention, detention, investigation, or prosecution of a

violation of Federal criminal laws.

                                      PROBABLE CAUSE

                                           Background

       1.      The US Capitol Police (USCP), the FBI, and assisting law enforcement agencies

are investigating a riot and related offenses that occurred at the United States Capitol Building,

located at 1 First Street, NW, Washington, D.C., 20510 on January 6, 2021.

                       The 2020 United States Presidential Election and
                         the Official Proceeding on January 6, 2021

       2.      The 2020 United States Presidential Election occurred on November 3, 2020.

       3.      The United States Electoral College is a group required by the Constitution to form

every four years for the sole purpose of electing the president and vice president, with each state

appointing its own electors in a number equal to the size of that state’s Congressional delegation.

       4.      On December 14, 2020, the presidential electors of the U.S. Electoral College met

in the state capital of each state and in the District of Columbia and formalized the result of the

2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have

won sufficient votes to be elected the next president and vice president of the United States.
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         5.    On or about December 19, 2020, President Donald J. Trump tweeted, “Statistically

impossible to have lost the 2020 Election. Big protest in D.C. on January 6th. Be there, will be

wild!”

         6.    On January 6, 2021, a Joint Session of the United States House of Representatives

and the United States Senate (“the Joint Session”) convened in the United States Capitol building

(the “Capitol” or the “U.S. Capitol”) to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election (the “Certification”).

                                 Criminal Activity Before the Riot

         7.    Based on my knowledge, training, and experience, I know that participants in the

kinds of criminal activities described herein tend to, and often did here, take certain preparatory

steps before committing their crimes, including: researching and purchasing materials and supplies

such as burner phones, tactical vests and helmets, and weapons including bear spray, pepper spray,

asps (police batons), guns and ammunition, and zip tie restraints; mapping and reconnoitering the

location of the planned crime and possible entry and escape routes, including checking for

surveillance cameras and other potential security surrounding such locations; training in how to

use their weapons and other tools and techniques involved in their planned criminal activity; and

organizing with other co-conspirators on social media and elsewhere for planned travel and

methods of attack.

         8.    Beginning after the election in November 2020, text and other communications

show that some groups of subjects planned and attended military-style training in preparation for

opposing the results of the election. Multiple groups that forcibly entered the Capitol appeared to

consist of individuals who had coordinated their actions. Some groups at the riot included

members who dressed in similar uniforms with the same insignia, and members of some groups
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can be heard on video giving and following instructions. Based on my training and experience,

and this investigation, these groups’ manner of dress, movements, and communication

demonstrate that they had prepared together. Furthermore, the movement of these groups within

the Capitol demonstrates an intent to, among other things, oppose by force Congress’s authority,

and to prevent, hinder, or delay the execution of the Joint Session’s legal responsibilities.

       9.      Beginning in December 2020, using social media, text messaging, and messaging

applications, subjects planning to participate in the riot sent incendiary messages aimed at

recruiting as large a following as possible to go to Washington, D.C. to interfere with the official

Congressional proceeding on January 6, 2021. This investigation has shown that many of the

subjects of this investigation came from out of state and coordinated using social media, text

messaging, and messaging applications on their cell phones.

       10.     During the time when the subjects were inside the Capitol building, multiple

subjects were observed inside the U.S. Capitol wearing what appears to be, based upon my training

and experience, tactical vests and helmets. The common equipment and paraphernalia that groups

inside and outside the Capitol possessed, such as bear spray, eye protection, tactical vests, and

helmets, are evidence of some prior agreement among individuals to engage in the conduct

described herein.

                         The Riot at the U.S. Capitol on January 6, 2021

       11.     At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of
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open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All this

area was barricaded and off limits to the public on January 6, 2021.

       12.     The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       13.     On January 6, 2021, the area of the U.S. Capitol grounds was established as a

restricted area. This restricted area consisted of both permanent and temporary security barriers

as well as posts manned by USCP to include bike racks. The restricted area was bounded to the

north of the U.S. Capitol along Constitution Avenue; to the south of the U.S. Capitol along

Independence Avenue; to the west of the U.S. Capitol along the eastern side of First Street; and,

on the east side of the U.S. Capitol, between the East Front and the grassy areas located between

the Plaza and First Street. Within the grassy area, a designated area for media was restricted by

bike racks. This bounded area is hereinafter referred to as the “Restricted Grounds.” People could

lawfully be on the Capitol grounds outside of the Restricted Grounds including on the East Front,

east of the bike racks along the Capitol Plaza, including all of the grassy areas on the East Front.

       14.     Within the West Front of the Restricted Grounds were additional temporary barriers

due to preparations and ongoing construction for the Presidential Inauguration including perforated

green plastic sheeting attached to stakes at regular intervals, known as snow fencing, and signage

stating “Area Closed by order of the United States Capitol Police Board.” The exterior plaza of

the U.S. Capitol was also closed to members of the public.
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       15.      A map of the area of the U.S. Capitol showing the Restricted Grounds is below,

the red line marks the police line at the edges of the Restricted Grounds:




Figure 2: Restricted Grounds around the U.S. Capitol on January 6, 2021.

       16.      On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.    During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

took place on November 3, 2020. The joint session began at approximately 1:00 p.m. Eastern

Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and Senate
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adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

       17.     As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       18.     At around 1:00 p.m. EST, known and unknown individuals broke through the police

lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

supporting law enforcement officers there to protect the U.S. Capitol. Pipe bombs were later found

near both the Democratic National Committee and Republican National Committee headquarters.

       19.     At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House

Cannon Office Building and the Library of Congress James Madison Memorial Building in part

because of a suspicious package found nearby.

       20.     Media reporting showed a group of individuals outside of the Capitol chanting,

“Hang Mike Pence.” I know from this investigation that some individuals believed that Vice

President Pence possessed the ability to prevent the certification of the presidential election and

that his failure to do so made him a traitor.

       21.     At approximately 2:00 p.m., some people in the crowd forced their way through,

up, and over the barricades and law enforcement. The crowd advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the
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certification proceedings were still underway and the exterior doors and windows of the U.S.

Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

order and keep the crowd from entering the Capitol.

       22.     Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. Publicly available video footage shows an unknown

individual saying to a crowd outside the Capitol building, “We’re gonna fucking take this,” which

your affiant believes was a reference to “taking” the U.S. Capitol.




       23.     Multiple groups that forcibly entered the Capitol appeared to consist of individuals

who had practiced and/or coordinated their actions. For example, some groups included members

who dressed in similar uniforms with the same insignia, and members of some groups can be heard

on video giving and following instructions. Based on my training and experience, and this

investigation, these groups’ manner of dress, movements, and communication demonstrate that
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they had prepared together. In addition, the equipment and paraphernalia that groups inside and

outside the Capitol possessed, such as bear spray, eye protection, and helmets, are evidence of

some prior agreement among individuals to engage in the conduct described herein. Finally, the

movement of these groups within the Capitol demonstrates an intent to, among other things,

oppose by force Congress’s authority and to prevent, hinder, or delay the execution of the Joint

Session’s legal responsibilities

       24.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. That is, at or about this time,

USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and locked it down.

USCP ordered a similar lockdown in the House chamber. As the subjects attempted to break into

the House chamber, by breaking the windows on the chamber door, law enforcement was forced

to draw their weapons to protect the victims sheltering inside.

       25.     At approximately 2:30 p.m. EST, known and unknown subjects broke windows and

pushed past USCP and supporting law enforcement officers forcing their way into the U.S. Capitol

on both the west side and the east side of the building. Once inside, the subjects broke windows

and doors, destroyed property, stole property, and assaulted federal police officers. Many of the

federal police officers were injured and several were admitted to the hospital.

       26.     The subjects also confronted and terrorized members of Congress, Congressional

staff, and the media. The subjects carried weapons including tire irons, sledgehammers, bear

spray, and Tasers. They also took police equipment from overrun police including shields and

police batons and used them against law enforcement officers trying to protect the U.S. Capitol

and the people who were legitimately inside it. At least one of the subjects carried a handgun with
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an extended magazine. These actions by the unknown individuals resulted in the disruption and

ultimate delay of the vote Certification.

          27.   Also, at approximately 2:30 p.m. EST, USCP ordered the evacuation of lawmakers,

Vice President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their

safety.

          28.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

Pelosi.

          29.   At around 2:47 p.m., subjects broke into the United States Senate Chamber.

Publicly available video on the news media website of The New Yorker shows an individual

asking, “Where are they?” as they opened up the door to the Senate Chamber. Based upon the

context, law enforcement believes that the word “they” is in reference to members of Congress.




          30.   After subjects forced entry into the Senate Chamber, the same publicly available

video shows that an individual asked, “Where the fuck is Nancy?” Based upon other comments
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and the context, law enforcement believes that the “Nancy” being referenced was the Speaker of

the House of Representatives, Nancy Pelosi.




       31.    A subject left a note on the podium on the floor of the Senate Chamber. This note,

captured by the filming reporter on the same video, stated, “Its Only A Matter of Time Justice is

Coming.”
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       32.     At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m.

       33.     At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

       34.     At around 4:52 p.m. EST, at a staging area for the media set up outside of the U.S.

Capitol building on the east side, unknown subjects assaulted members of the media and stole and

destroyed equipment owned by various members of the media and media companies.

       35.     Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the

U.S. Capitol of all of the subjects.

       36.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening or weapons

check, Congressional proceedings could not resume until after every unauthorized occupant had

left the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at
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approximately 8:00 pm after the building had been secured. Vice President Pence remained in the

United States Capitol from the time he was evacuated from the Senate Chamber until the session

resumed.

       37.     Beginning around 8:00 p.m., the Senate resumed work on the Certification.

       38.     Beginning around 9:00 p.m., the House resumed work on the Certification.

       39.     Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3 a.m. on January 7, 2021.

                               Facts Specific to This Application

                                Facts Specific to Jeremy Brown

       40.     On January 25, 2021, FBI WFO received a complaint from Witness 1 who has

known JEREMY BROWN for multiple years. Witness 1 provided publicly available photos of

BROWN in tactical gear from January 5, 2021 but was unsure about whether BROWN entered the

Capitol during the riots. Your affiant has provided one of the photos here:
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       41.     Your affiant was able to identify BROWN’S whereabouts on January 6 by

comparing the publicly available photo of Brown (above) from January 5th to photography and

video from January 6. Your affiant located a publicly available photo of him wearing the same

distinctive attire standing just before the steps of the East side steps of the Capitol during the riots

of January 6. He was more than 100 feet within the restricted grounds that law enforcement had

originally set up to protect Congress and Vice President Pence during the certification of the

Electoral College vote. Brown wore full military gear, including a helmet, radio, a tactical vest,

and prominently displayed large surgical trauma shears tucked into a pack sitting on the vest,

nearly the exact attire that he wore on the prior day. Your affiant has provided the photo below:
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       42.     Your affiant reviewed body worn camera footage from January 6, 2021 and was

able to identify BROWN by his distinctive attire outside the East doors of the Capitol at

approximately 4:27 PM. During this period, Brown remained at least one hundred feet past the

barriers that law enforcement had initially set up to protect the Capitol. On the body worn camera

video, BROWN carried zip ties attached to his belt, as well as a radio, surgical trauma shears, and

tactical gear. Metropolitan Police Officers, in attempting to resecure the Capitol Grounds,

advanced in a line and yelled “Back” in unison. Instead of voluntarily complying with police

orders, BROWN only retreated when pushed with police baton sticks. During this encounter,

BROWN repeatedly claimed that the officers were, in his opinion, violating the laws and the

Constitution of the United States. Your affiant has included a screenshot below:




       43.     In the course of this investigation, your affiant has also reviewed a statement from

Defendant 4 who has pled guilty to Conspiracy to Obstruct an Official Proceeding relating to his

conduct and the conduct of others in breaching the US Capitol on January 6, 2021.

       44.     According to Defendant 4, Defendant 4 utilized a ride share to travel to BROWN’S

house on January 4 in preparation for traveling to Washington D.C. Your affiant has obtained
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records from the ride share company indicating that Defendant 4 entered an address consistent

with BROWN’s home address.

           45.      According to Defendant 4, Brown and other individuals coordinated their activity

via a Signal1 chat. Defendant 4 positively identified Brown in the publicly available photo

referenced above.

           46.      Your affiant has reviewed the Signal chat referenced by Defendant 4. In the chat,

BROWN coordinated travel plans and rendezvous points. On December 23, 2020, he messaged,

“We have a RV an Van going. Plenty of Gun Ports left to fill. We can pick you up.” On January

1, 2021, BROWN, referring to his RV as “GROUND FORCE ONE” wrote:

           GROUND FORCE ONE Departure Plan:
           If you can, come to my house anytime Saturday. You can stop by and drop stuff
           off, or stay the night. This way we can load plan, route plan, and conduct PCIs
           (Pre Combat Inspections).
           I would LIKE to depart by 0645 on Sunday morning, Jan 3rd. Push through to the
           NC linkup on the 3rd, RON (Rest Over Night) there, then push to DC on the 4th.
           This will give us the 4th/5th to set up, conduct route recons, CTR (Close Target
           Reconnaissance) and any link ups needed with DC elements.
           If you need to be picked up, then we will work that into route plan and will
           provide exact pickup time by Saturday evening. Please have EVERYTHING
           ready once we arrive. It will be an ERO (Engine Running Onload).
           IF YOU ARE RIDING WITH ME, dm me with your plan to come here or be
           picked up. I will send address via the dm.
           I am willing to make adjustments all the way up until we pass your ass headed
           north, but it is now time to shit or get on someone else's pot. READY? GO!!!

           47.      Your affiant has also reviewed statements made by BROWN following the riots of

January 6, 2021. On that day, BROWN wrote:

           Everything you are watching on the Media and Houses of Congress is a LIE! I was
           shot in the neck with pepper balls and beating in the forearm with a night stick
           trying to shield unprotected Civilians from being hit in the head. This was an
           exercise in the unrestrained addiction to power.


1
    Signal is an encrypted chat application.
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          48.      Your affiant also has reviewed Parler posts from BROWN’S account

(@brownforcongress2020). Based on this review, your affiant was able to confirm that BROWN

intended to travel to DC for the January 5 protests in an RV with other individuals:




          49.      Your affiant also reviewed publicly available video podcasts of BROWN. In an

interview posted on July 12, 2021,2 BROWN stated that he was present in Washington, DC on

January 6. Prior to the riots, he deposited his guns with individuals in Virginia and retrieved them

after the riots. During the riots, BROWN stated that he was present with others who have been

indicted for actions relating to their breach of the Capitol, and told at least one person not to enter

the Capitol.


2
    https://freeworldnews.tv/watch?id=60ecff8474feb85ab1adec2f
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       50.     Your affiant has reviewed a statement given by BROWN to federal agents. Law

enforcement agents called BROWN at XXX-XXX-4564 on or about January 6 and 7, 2021 and

inquired regarding his whereabouts. Agents spoke briefly with BROWN on January 6, 2021, but

could not hear him well due to apparent crowd noise. BROWN spoke to agents in more detail on

January 7, 2021. He told them that he was present in Washington, D.C. and provided security for

VIPs at the “Stop the Steal” rally.

       51.     According to records obtained through a search warrant which was served on

Verizon, on January 6, 2021, in and around the time of the incident, the cellphone associated with

XXX-XXX-4564 was identified as having utilized a cell site consistent with providing service to

a geographic area that included the interior of the United States Capitol building. Your affiant has

not yet identified BROWN inside the Capitol but has identified him within the restricted ground.

       52.     Based on the foregoing, your affiant submits that there is probable cause to believe

that BROWN violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do; and (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the

orderly conduct of Government business or official functions. For purposes of Section 1752 of

Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a

building or grounds where the President or other person protected by the Secret Service, including

the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in

conjunction with an event designated as a special event of national significance.
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                                                    _________________________________
                                                    Special Agent Katie Hill
                                                    Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone on this 29th day of September, 2021.




                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
